         Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 1 of 24




                  AFFIDAVIT OF SPECIAL AGENT CASEY ANDERSON
                       IN SUPPORT OF CRIMINAL COMPLAINT

        I, Casey Anderson, state:

        1.      I am employed as a Special Agent with the Federal Bureau of Investigation (“FBI”)

and have been so employed since September of 2019. I am currently assigned to the FBI

Springfield (MA) Resident Agency of the Boston Division. During the course of my career, I have

participated in criminal investigations, including investigations into violations of federal civil

rights laws and interstate threats. My participation in these investigations has included utilizing

confidential informants and cooperating witnesses; coordinating and conducting the execution of

search and arrest warrants; and conducting electronic and physical surveillance.

        2.      I make this affidavit in support of an application for a criminal complaint charging

Dushko Vulchev (“Vulchev”) with damage to religious property, in violation of 18 U.S.C.

§§ 247(c) and (d)(3), and use of fire to commit a federal felony, in violation of 18 U.S.C.

§ 844(h)(1) (together, the “Offenses”).

        3.      The facts in this affidavit come from my personal observations and review of

records, my training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to support the application for a criminal complaint and does not set forth

all of my knowledge about this matter.

                                             The Offenses

        4.      Damage to religious property (18 U.S.C. § 247(c)): Title 18, United States Code,

Section 247(c) provides: “Whoever intentionally defaces, damages, or destroys any religious real

property because of the race, color, or ethnic characteristics of any individual associated with that

religious property, or attempts to do so, shall be punished . . . .”

                                                   1
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 2 of 24




       5.      Use of Fire to Commit a Felony (18 U.S.C. § 844(h)(1)): Title 18, United States

Code, Section 844(h)(1) provides: “Whoever uses fire or an explosive to commit any felony which

may be prosecuted in a court of the United States…[shall be punished.]”

                                          Dushko Vulchev

       6.      Dushko Vulchev is a resident of Houlton, Maine. Based on Vulchev’s criminal

history, he is a naturalized United States citizen of Bulgarian national origin.

       7.      In 2015, Vulchev was convicted in the United States District Court for the District

of Maine for threatening a foreign official, in violation of 18 U.S.C. § 112(b)(1).

       8.      In 2017, Vulchev was convicted in Maine state court of Obstructing Reporting of a

Crime, Theft by Unauthorized Taking/Transfer, Domestic Violence Terrorizing, Domestic

Violence Assault, and Criminal Restraint.

                             The Martin Luther King, Jr. Community
                        Presbyterian Church in Springfield, Massachusetts

       9.      The Martin Luther King, Jr. Community Presbyterian Church (“MLK Church”) is

located at 14 Concord Terrace, Springfield, Massachusetts. The name of the church is displayed

on the front of the building. The pastor and nearly all of the congregants of MLK Church are

Black, and the church is named in honor of civil rights leader Martin Luther King, Jr.

       10.     These photographs fairly and accurately show the exterior and interior of the MLK

Church before any fire damage occurred:




                                                  2
Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 3 of 24




                               3
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 4 of 24




       11.     In December 2020, there was a series of small fires set at the MLK Church and a

series of tire slashings in the immediate vicinity. On December 28, 2020, another fire was set at

the MLK Church; this fire essentially destroyed the building.

       12.     My investigation has established probable cause to believe that Vulchev set the fire

that destroyed the MLK Church on December 28, 2020, and also that he committed the vandalism

and arsons that preceded it. Some of the evidence my fellow investigators and I have collected is

set forth below in support of the criminal complaint charging Vulchev with damage to religious

property, in violation of 18 U.S.C. §§ 247(c) and (d)(3), and use of fire to commit a federal felony,

in violation of 18 U.S.C. § 844(h)(1).

                December 13, 2020: tire slashings and a fire at the MLK Church

       13.     On December 13, 2020, at approximately 8:06 p.m., a small fire was reported

behind the MLK Church. The Springfield Fire Department (“SFD”) responded and extinguished

this fire. According to an SFD report, the fire appeared to be deliberately set. Hereinafter, this

fire will be referred to as “MLK Church Fire 1.”

       14.     Also on December 13, 2020, a vehicle had its tires slashed while it was in the

parking lot behind Gino’s Pizza, which is approximately two miles from the MLK Church. The

owner of the vehicle told police that his daughter had parked the car in the Gino’s Pizza lot at 10

a.m. on December 13 and then went to the City Church, not the MLK Church. The car owner’s

daughter returned from church and saw that the car’s tires had been slashed. The driver of this

vehicle is white. Hereinafter, this incident will be referred to as the “Gino’s Pizza Tire Slashing.”




                                                 4
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 5 of 24




                     December 14, 2020: three tire slashings near the MLK Church

       15.     According to a Springfield Police Department (“SPD”) report, on December 14,

2020, at approximately 1:30 p.m., a BMW SUV parked on Main Street in Springfield in the vicinity

of the Wahlburger’s restaurant had its tires slashed. Wahlburger’s is approximately 1.5 miles from

the MLK Church. The owner of this vehicle is Black. Hereinafter, this will be referred to as the

“Wahlburger’s Tire Slashing.”

       16.     Also on December 14, 2020, according to the victim’s account, a Tesla parked in

the vicinity of 605 State Street in Springfield (less than a mile from the MLK Church) had its front

tires slashed at approximately 10:30 a.m. Sometime between the evening of December 14, 2020

and the morning of December 15, 2020, the owner discovered that two of his/her wheels (rims and

tires) had been stolen from his/her car. The owner of this vehicle is Black. Hereinafter, this will

be referred to as the “Tesla Tire Slashing.”

       17.     Also on December 14, 2020, according to an SPD report, an employee of the MLK

Community Center Administrative Office left work to find that all four tires of his/her BMW were

slashed. Significantly, the vehicle was parked in a lot shared by the MLK Community Center

Administrative Office and the MLK Church. According to the SPD report, the employee of the

MLK Community Center Administrative Office worked until approximately 8 p.m. on December

14, 2020, and upon completion of his/her shift, discovered that all four tires of his/her BMW were

punctured. The owner of this vehicle is Black. Hereinafter, this will be referred to as the “MLK

Community Center Administrative Office Tire Slashing.”

                   December 15, 2020: two fires set behind the MLK Church

       18.     On December 15, 2020, at 6:32 p.m., SFD responded to and extinguished a fire at


                                                 5
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 6 of 24




the rear of the MLK Church (“MLK Church Fire 2”). According to an SFD report, the combustible

material in this fire consisted of two pallets and cardboard. SFD investigators also explained to

me that the combustible material was laid in a way that they identified as “trailing,” a method in

which the arsonist sets fire to sequentially arranged material with the hope or anticipation that the

fire will “trail” or progress along the combustible material. In this case, two wooden pallets were

laid next to each other in the rear yard near the church building.

       19.     SFD Arson and Bomb Squad investigated MLK Church Fire 2 and determined the

fire to be intentionally ignited and caused by the application of open flame to available combustible

materials.

       20.     Later on the same evening, at 11:03 p.m., another fire was reported at the rear of

the MLK Church (“MLK Church Fire 3”). Again, SFD responded and extinguished this fire. This

time, according to an SFD report, the fire appeared to be “intentionally set to eventually involve

the structure” of the MLK Church.       SFD investigators noted to me that the trailing was more

sophisticated than in MLK Church Fire 2. Namely, as the report notes, wood pallets and a tire

were leaning against the MLK Church building when SFD investigators arrived on scene.

               December 27, 2020: another tire slashing near the MLK Church

       21.     According to an SPD report, on December 27, 2020, a Dodge Charger parked on

Wilbraham Road, around the corner and approximately 400 to 500 feet from the MLK Church,

had all four of its tires slashed. The driver, who had rented the vehicle, is white. Hereinafter, this

will be referred to as the “Indian Motorcycle Building/Charger Slashing.”

                           December 28, 2020: the MLK Church burns

       22.     On December 28, 2020, at approximately 5:06 a.m., the American International


                                                  6
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 7 of 24




College campus police reported a fire at the MLK Church.

       23.    SFD responded and extinguished the fire, but not before the MLK Church was

essentially destroyed. The following photographs depict the MLK Church during and after the fire

on December 28, 2020.




                                               7
Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 8 of 24




                               8
Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 9 of 24




                               9
          Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 10 of 24




          24.   Investigators with the Massachusetts State Police (“MSP”) assigned to the Fire

Marshal’s Office, arson investigators with SFD, SPD, the FBI, and the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (“ATF”) responded to investigate the origin and cause of the

fire. They found that the fire was intentionally ignited. The fire started just outside the basement

side door and burned through the door into the basement and up through the main floor of the

church.

                    Investigation Reveals Video Evidence that Vulchev is the
                     Perpetrator of the Tire Slashings and MLK Church Fires

                                 Surveillance Footage of Vulchev

          25.   Investigators obtained closed-circuit and/or surveillance video footage from a

variety of sources relevant to the events in Springfield described above.

          26.   December 13, 2020 Gino’s Pizza Tire Slashing: City of Springfield video footage


                                                10
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 11 of 24




shows the victim’s vehicle pulling into the rear of Gino’s Pizza at approximately 10:09 a.m. At

approximately 10:57 a.m., a grey Chevy Cruze with Maine license 9036 LR pulled into the same

parking lot. The victim’s vehicle was still parked in the lot. At 10:59 a.m., the grey Chevy Cruze

exited the parking lot.

       27.     Records from the state of Maine show that the grey Chevy Cruze with Maine

license 9036 LR is registered to Dushko Vulchev, at 343 Court Street, Houlton, Maine.

Hereinafter, the grey Chevy Cruze will be referred to as “Vulchev’s vehicle.”

       28.     December 13, 2020 MLK Church Fire 1: City video footage shows a man wearing

grey pants and a dark top crossing State Street in the direction of the rear of the MLK Community

Center at approximately 7:29 p.m. The man walked up State Street (towards the camera) and out

of view down the back alleyway of the MLK Community Center, which leads directly to the back

of the MLK Church, at 7:30 p.m. The man exited that alleyway at 7:32 p.m. At 8:00 p.m., the man

walked back across State Street and down the alleyway to the rear of the MLK Church. At 8:01

p.m., the illumination from the fire in the rear area of the MLK Church was visible on video

footage. Additional video footage showed Vulchev’s vehicle circling the MLK Church just before

and after the fire. As described above, MLK Church Fire 1 was reported at approximately 8:06

p.m.

       29.     December 14, 2020 Wahlburger’s Tire Slashing:          City video footage shows

Vulchev’s vehicle parking in front of Wahlburger’s at approximately 12:36 p.m. and remaining

there for nearly an hour. At approximately 1:29 p.m., a BMW SUV parked in front of Vulchev’s

vehicle. A Black driver exited the BMW at 1:32 p.m. At approximately 1:34 p.m., a white male

wearing a black jacket, grey pants, and dark shoes exited the driver side of Vulchev’s vehicle and


                                               11
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 12 of 24




walked around to the passenger side to retrieve an object through the front passenger window.

Based on Vulchev’s height, gait, and clothing, and my observation of Vulchev during my later

interview with him conducted at the Pittsfield Police Department (“PPD”) on December 31, 2020

(the “Vulchev PPD Interview”), I believe the white male to be Vulchev. Vulchev then walked to

the passenger side of the BMW SUV, crouched by the front passenger side tire, and moved to the

rear passenger side tire. Vulchev returned to his vehicle, placed the object through the passenger

side window, got back into the driver’s seat, and drove away. City video footage revealed that

Vulchev’s vehicle parked down the street and appeared to observe the return of the BMW SUV

driver whose tires had been slashed.

       30.     Investigators also discovered evidence linked to the December 14, 2020

Wahlburger’s Tire Slashing on Vulchev’s Facebook account (the “Vulchev Facebook account”).

The Vulchev Facebook account posted two videos outside Wahlburger’s, including one on

December 13, 2020 at 2:16 a.m., the day before the Wahlburger’s Tire Slashing. The videos were

taken from a handheld device believed to be a smartphone and featured the outside of the

Wahlburger’s restaurant. One video also panned up and down State Street. The caption on both

videos noted that they were in Springfield. Both videos featured a male voice. One video had the

voice of a man speaking in heavily accented English, and in the other, the male was speaking in a

foreign language. Based on the Vulchev PPD Interview and my review of videos posted to

Vulchev’s other social media accounts, I believe the voice in the videos outside the Wahlburger’s

restaurant is Vulchev’s.

       31.     December 14, 2020 Tesla Tire Slashing: Based on my training and experience and

this investigation, I am aware that the Tesla referenced above is equipped with cameras at various


                                               12
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 13 of 24




points around the body. ATF Special Agent Marc Maurino (“SA Maurino”) and I have reviewed

video footage retrieved from the Tesla showing an individual that I can identify as Vulchev, based

on my observation of Vulchev during the Vulchev PPD Interview. The video footage from the

Tesla shows Vulchev at a close distance crouching near the Tesla and using a tire iron to remove

the wheels. Additional Tesla video footage captured Vulchev removing one of the Tesla’s wheels

and placing it in the trunk of Vulchev’s car. Vulchev’s face is clearly visible in the video. Vulchev

was wearing grey pants and a dark colored sweatshirt, Adidas three-stripe sneakers, a black hat

with two grey stripes, and light-colored work gloves. Video footage from the Tesla captured the

following images of Vulchev:




                                                 13
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 14 of 24




       32.    December 15, 2020 MLK Church Fire 2: City video footage from approximately

6:18 p.m. shows a balding white man wearing a black jacket, grey pants, and dark shoes walking

out from behind the MLK Community Center via the alleyway towards State Street. Based on my

review of the video footage and my observations of Vulchev during the Vulchev PPD Interview,

I believe the man in the video footage is Vulchev. Vulchev crossed and remained briefly on State

Street before walking back towards the direction of the front of the MLK Community Center and

out of camera view. The video footage provides a clear view of Vulchev’s face. The following

photograph was captured from City video footage and depicts Vulchev walking away from the

MLK Church minutes before MLK Church Fire 2 is visible:




       33.    December 15, 2020 MLK Church Fire 3: City video footage from approximately

10:41 p.m. shows a man walking from a parking lot on State Street, crossing State Street, and

walking down the alleyway that runs behind the MLK Community Center in the direction of the

                                              14
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 15 of 24




MLK Church. The man was wearing the same outfit Vulchev was wearing during the December

14, 2020 Tesla Tire Slashing, including the distinctive light-colored work gloves. Based on the

similarities in the clothing and the man’s build and height, other investigators and I believe the

individual to be Vulchev. As shown on video, as he entered the alley, Vulchev carried what

appears to be a car tire that had been slashed and removed from a wheel, along with other

combustible material. As noted above, MLK Church Fire 3 involved the burning of a tire. At

10:46 p.m., Vulchev exited the alleyway, and was no longer carrying the tire. He continued

walking onto State Street and crossed back towards the parking lot where he was initially captured

on video.

       34.     December 27, 2020 Indian Motorcycle Building Tire Slashing: Video obtained

from the Indian Motorcycle Building apartment security office shows Vulchev’s vehicle parked

facing west on Wilbraham Road beside the Indian Motorcycle Building at 12:17 a.m. Based on

the video footage, at 12:20 a.m., a man wearing grey pants, a dark colored top, and a hat exited the

vehicle. Based on my observations of the man’s height, gait, clothing, and my observations of

Vulchev during the Vulchev PPD Interview, I believe the man is Vulchev. At approximately 12:21

a.m., Vulchev retrieved an item through the front passenger side door of his vehicle and crouched

behind his vehicle. Vulchev then walked to a car parked several cars behind his vehicle, bent down

between both tires, and then returned to his vehicle. At approximately 12:23 a.m., Vulchev pulled

his vehicle out of the parking spot and drove west on Wilbraham Road.

       35.     December 28, 2020 MLK Church Fire 4: City video footage shows Vulchev’s

vehicle on Wilbraham Road at approximately 2:34 a.m. The MLK Church is located on Concord

Terrace between Wilbraham Road and State Street. City video footage and video footage from


                                                15
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 16 of 24




the Indian Motorcycle Building apartment security office also show the following:

              a.      The license plate on a grey Chevrolet captured on video was from a state

              outside of Massachusetts, and the last characters of the license plate number were

              “LR” (the same as Vulchev’s license plate). Small tabs or medallions were affixed

              to the rear of the license plate of the grey Chevrolet that match the tabs actually

              present on Vulchev’s vehicle, which PPD seized on December 30, 2020, as

              described below. The grey Chevrolet had a white dress shirt hanging in the rear

              passenger side window that matched a dress shirt hanging in Vulchev’s vehicle

              when PPD seized it on December 30, 2020.

              b.      Starting at approximately 2:34 a.m., Vulchev’s vehicle drove up and down

              Wilbraham Road, and made several turns into and out of side streets.

              c.      At approximately 2:37 a.m., Vulchev’s vehicle turned onto Rutland Street

              from Wilbraham Road, and pulled into the parking lot of an apartment building on

              Rutland Street. The apartment building parking lot adjoins the back of the MLK

              Church parking lot and the MLK Community Center Administrative Office.

              d.      At approximately 2:43 a.m., the driver, who I believe to be Vulchev based

              on his size and gait and my observations during the Vulchev PPD Interview, exited

              his vehicle, opened and closed the trunk, and then walked out of sight of the camera

              and into the direction of the rear of the MLK Church.

              e.      At approximately 2:49 a.m., Vulchev returned to his vehicle, got back into

              the driver’s seat, pulled out onto Rutland Street, drove back onto Wilbraham Road,

              and turned onto a side street.


                                               16
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 17 of 24




               f.      At approximately 2:52 a.m., Vulchev’s vehicle returned to Wilbraham

               Road, turned again onto Rutland Street, and parked in the apartment building

               parking lot referenced in paragraph 35c. Vulchev’s vehicle remained in the parking

               lot for approximately a minute, and then pulled out and drove back onto Wilbraham

               Road, out of camera view.

               g.      At 2:55 a.m., smoke was visible rising from the vicinity of MLK Church for

               the first time.

               h.      Vulchev’s vehicle did not reappear in camera view for approximately

               twenty-four minutes. At 3:19 a.m., Vulchev’s vehicle appeared on Wilbraham

               Road near the MLK Church and parked near the Indian Motorcycle Building at

               approximately 3:20 a.m. After about a minute, Vulchev’s vehicle drove away from

               the parking lot.

                     December 30-31, 2020 PPD Stop and Arrest of Vulchev

       36.     According to a PPD report, on December 30, 2020, at approximately 6:46 p.m., a

civilian called to complain about a vehicle driving erratically. The civilian identified the license

plate number of the vehicle, which matched Vulchev’s vehicle. PPD Dispatchers then issued an

advisory to all officers to be on the lookout for Vulchev’s vehicle.

       37.     According to the same report, at 9:47 p.m., PPD officers initiated a stop of

Vulchev’s vehicle on North Street in Pittsfield on suspicion of the erratic driving and because PPD

had been investigating Vulchev as a suspect of multiple tire slashings that occurred during the past

week to two weeks in Pittsfield. PPD officers were aware of the ongoing federal investigation into

fires that had occurred in Springfield, so they called FBI Supervisory Special Agent of the


                                                17
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 18 of 24




Springfield Resident Agency Matthew Fontaine (“SSA Fontaine”) to inform him of the stop.

       38.     At 9:55 p.m., SSA Fontaine arrived at the scene of the stop of Vulchev’s vehicle.

Upon SSA Fontaine’s arrival, Vulchev was detained in the PPD vehicle, and Vulchev’s vehicle

was pulled over to the side of the road. SSA Fontaine viewed Vulchev’s vehicle from the outside

and observed the following in plain view: (a) on the driver’s side floor board, light colored thick

work gloves that appeared to match those worn by Vulchev and captured on video during the Tesla

Tire Slashing and MLK Church Fire 3; (b) on the passenger side floor board, large jugs of water

and a bar of soap in a travel soap container; (c) trash piled up in the center console; (d) on the

passenger side seat, a pile of clothing and a knit hat; (e) hanging in the rear passenger seat window,

dress clothes; and (f) connected to a charger on top of the clothing on the passenger side front seat,

a black smartphone. The contents of Vulchev’s vehicle led SSA Fontaine to believe that Vulchev

may have been living in Vulchev’s vehicle for some time before the stop.

       39.     At 10:18 p.m., a tow truck arrived to take Vulchev’s vehicle to PPD to be

impounded. Shortly thereafter, SA Maurino arrived on the scene of the stop in Pittsfield.

       40.     Thereafter, PPD removed Vulchev from the PPD vehicle and spoke with Vulchev

for approximately eight minutes. During the conversation, SSA Fontaine and SA Maurino were

able to observe Vulchev. SSA Fontaine and SA Maurino believed that Vulchev was wearing the

same three-stripe Adidas sneakers as those he wore and captured on video during the Tesla Tire

Slashing.

       41.     At 10:38 p.m., PPD officers released Vulchev, who immediately left on foot.

       42.     At approximately 5:00 p.m. on December 31, 2020, PPD officers arrested Vulchev

based on an arrest warrant issued by SPD for various crimes related to the Springfield tire slashings


                                                 18
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 19 of 24




and the MLK Church Fires.

                               Location Data from Vulchev’s Phone

       43.      On December 31, 2020, PPD seized a black Sony Xperia smartphone (“Vulchev’s

phone”) from Vulchev upon his arrest. FBI searched Vulchev’s phone pursuant to a search warrant

issued by the United States District Court for the District of Massachusetts on January 1, 2021.

See 21-mj-30003-KAR.

       44.      Location data found within Google applications on Vulchev’s phone was sufficient

for me to conclude that Vulchev’s phone was in the immediate area of at least three of the four

fires at the MLK Church at the relevant times. Data subsequently obtained from Google placed

Vulchev’s phone in the immediate areas of all four fires at the MLK Church at the relevant times.

                                    Search of Vulchev’s Vehicle

       45.      On January 4, 2021, the FBI and ATF conducted a search of Vulchev’s vehicle,

pursuant to a search warrant issued by the United States District Court for the District of

Massachusetts. See 21-mj-30001-KAR. During the search, investigators found multiple bills and

receipts tied to Vulchev – from gas stations, restaurants, the Massachusetts Department of Transit,

and hardware stores – showing that Vulchev was the user of the vehicle and that he had been in

Massachusetts during the fall and early winter of 2020.

       46.      Investigators also found a computer, a hard drive, and multiple USB storage

devices.     A search of the computer identified numerous examples of communications that

demonstrated Vulchev’s racial animus towards Black people, as detailed below.

                   Evidence of Vulchev’s Racial Animus towards Black People

       47.      During the course of the instant investigation, investigators interviewed Witness 1,


                                                 19
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 20 of 24




Vulchev’s ex-girlfriend. 1    Witness 1 stated that between at least 2007 and 2015, Vulchev

frequently displayed racial animus towards non-whites and Muslims, and used the epithet “Nigger”

to describe Black people.

       48.      Between December 5, 2020 and December 31, 2020, Vulchev had multiple contacts

with Witness 1 on Skype messenger through Vulchev’s Skype account (the “Vulchev Skype

account”). 2 I reviewed copies of these messages provided to me by Witness 1. I also located and

reviewed identical messages from December 2020, that were on the computer seized from

Vulchev’s vehicle. Based on my review, the Vulchev Skype account sent the following messages

to Witness 1:

                a.     On December 12, 2020, the Vulchev Skype account sent Witness 1 a

                message stating: “You belong to me, I am handsome and with perfect body. I am

                extremely intelligent. I need a gun to kill NIGGERS.”

                b.     On December 18, 2020, the Vulchev Skype account sent Witness 1 a

                message stating: “all of you are hypocrites because secretly you sponsor the

                NIGGER muslims while you pretend to be white Christians.”

                c.     On December 19, 2020, the Vulchev Skype account sent Witness 1

                messages stating: “Please stop watching any NIGGER sports and supporting any

                NIGGERS music… Even if you listen to 1 song once in your car or anywhere else,


       1
          Witness 1 is the victim of the Maine state crimes listed in paragraph 8 of this affidavit for
which Vulchev was convicted in 2017. Witness 1’s parents are residents of Pittsfield and have a
lifetime protective order against Vulchev.
       2
         The photograph associated with the Vulchev Facebook account is identical to the profile
picture associated with the Vulchev Skype account used to communicate with Witness 1.

                                                  20
Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 21 of 24




         then you are contaminating the whole planet with NIGGERS who eat more than

         me and who can gang u on me… If I am raped in prison it better be by white people

         instead of filthy and nasty NIGGERS, who are ugly and grotesk!... If its not white

         then its not right!”

         d.      On December 20, 2020, the Vulchev Skype account sent Witness 1

         messages about food shopping, stating: “Remember always try to check out at

         register 1 or 7… But the clerk is important, not the number. Look for the person to

         pay to… Remember… Each time you pay to someone you give them like, a job,

         retirement, and everything…. So do NNNOT feed enemies!... think of it as a DNA

         war.”

         e.      On December 21, 2020, the Vulchev Skype account sent Witness 1

         messages stating: “Here in Walmart in Newington is a severe infestation with

         NIGGERS, you can’t even imagine!... You don’t understand, I move cargo from

         one place to another and I eliminate NIGGERS meanwhile!... Eliminate all

         NIGGERS and tell your sisters to UNBLOCK me and to eliminate all NIGGERS

         too!”

         f.      On December 26, 2020, the Vulchev Skype account sent Witness 1 a

         message stating: “Eliminate all NIGGERS, that includes not watching a NIGGER

         bachelorette TV show.” 3

49.      Witness 2, whose identity is known to law enforcement but is not being included in




3
    At the time, the lead of ABC’s Bachelorette TV show was Black.

                                         21
        Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 22 of 24




this affidavit for his/her personal safety, was familiar with Vulchev for several years until the late

summer of 2020. Both Witness 2 and Vulchev lived in the Houlton, Maine area at the time. During

the summer of 2020, Vulchev asked Witness 2 how Vulchev could get a gun. Witness 2 would

not assist Vulchev in obtaining a gun. Vulchev also asked Witness 2 to assist Vulchev in making

car repairs on a BMW Vulchev owned. As time passed into the late summer of 2020, Vulchev

became progressively more agitated, claiming that “Niggers were raping his wife in Connecticut.”

According to Witness 2, Vulchev sold the BMW and had a new grey or silver Chevrolet delivered

in late summer of 2020. Witness 1 believed Vulchev left for Connecticut within several days of

obtaining the new car.

       50.     Witness 3, whose identity is known to law enforcement but is not being included in

this affidavit for his/her personal safety, was previously married to Vulchev. During an interview

in January 2021, Witness 3 explained that Vulchev would commonly use the term “nigger” and

did not like minorities. Even though Witness 3 had long since been divorced from Vulchev at the

time of his/her interview, Vulchev still occasionally contacted Witness 3 and Witness 3’s family

members. Witness 3 provided agents with copies of some e-mails Vulchev sent, dated between

April 30, 2013 and December 26, 2020. Some of the e-mails contained Vulchev’s calls to

eliminate specific ethnic groups and derogatory language expressing racial animus. Examples of

such e-mails include the following:

               a.        Vulchev sent an e-mail on December 8, 2014 to Witness 3 and others,

               stating: “[W]e need to do anything to eliminate islam,bcoz the blacks here are the

               one that buy that propaganda the most. not the latinos who are catholics and not the

               natives but the blacks. think of you retirement benefits and the future of your kids.


                                                 22
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 23 of 24




                there is no time to waste at all. let the south stream and do not worry about

                republican or democrat, bcoz george soros doesn't have all the latest intel.”

                b.     Vulchev sent an e-mail on October 10, 2015 to Witness 3, stating: “1.usa

                must love t-mobile. 2. fucking niggers. fuck the niggers, transgender and gay men.

                fuck these idiots. 3. fucking chinese walmart junk that are sponsoring militant islam

                arabs. 4. fuck military police. fuck arabs, fuck the police. police would never be

                above army,navy, airforce any servicemen. fuck the police. fucking homos.”

                c.     Vulchev sent an e-mail on December 26, 2020 to Witness 3, stating: “I

                wanted to take a moment and say how perfect you are, beautiful and intelligent. I

                hope [Witness 3’s son] befriends me on Facebook, because I have a lot more videos

                to upload from when we lived together. Please take care and please tell your father

                a have a lot of video with Grammy too. Unfortunately he is not friends with me on

                Facebook and tell him to tell [Witness 3’s brother] to eliminate all NIGGERS.

                Respectfully, Душко Венелинов Вълчев. 4”

       51.      On December 25, 2020, Witness 4, whose identity is known to law enforcement

but is not being included in this affidavit for his/her personal safety, received a Facebook message

from the Vulchev Facebook account, stating: “Eliminate all NIGGERS, it’s a matter of life and

death, we are way behind schedule! I count on you, cool dude!”

       52.      During the search of Vulchev’s phone described above, FBI found, among other

things, photographs of the following:




       4
           This translates in English to “Dushko Venelinov Vulchev.”

                                                 23
       Case 3:21-mj-03084-KAR Document 2-1 Filed 04/15/21 Page 24 of 24




              a.        receipts from purchases made in Massachusetts in December 2020;

              b.        a firearm;

              c.        the store front of Wahlburger’s in Springfield;

              d.        a certification of title for a 2019 Chevy Cruze registered to Vulchev;

              e.        Adolf Hitler in an Adidas track suit; and

              f.        a “White Lives Matter” mural.




                                          CONCLUSION

       53.    Based on the information described above, I believe that there is probable cause to

believe that Vulchev committed the following crimes: damage to religious property, in violation

of 18 U.S.C. §§ 247(c) and (d)(3), and use of fire to commit a federal felony, in violation of 18

U.S.C. § 844(h)(1).

                                                      Respectfully submitted,

                                                      /s/ Casey Anderson
                                                      Casey Anderson
                                                      Special Agent
                                                      Federal Bureau of Investigation
Dated: April 15, 2021

                                                 24
